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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                      Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.



                         PLAINTIFFS’ MOTION TO AMEND THE COMPLAINT

            Pursuant to Federal Rule of Civil Procedure 15(a), Plaintiffs Sony Music Entertainment,

     Arista Music, Arista Records LLC, LaFace Records LLC, Provident Label Group, LLC, Sony

     Music Entertainment US Latin, Volcano Entertainment III, LLC, Zomba Recordings LLC,

     Sony/ATV Music Publishing LLC, EMI Al Gallico Music Corp., EMI Algee Music Corp., EMI

     April Music Inc., EMI Blackwood Music Inc., Colgems-EMI Music Inc., EMI Consortium Music

     Publishing Inc. d/b/a EMI Full Keel Music, EMI Consortium Songs, Inc., individually and d/b/a

     EMI Longitude Music, EMI Feist Catalog Inc., EMI Miller Catalog Inc., EMI Mills Music, Inc.,

     EMI Unart Catalog Inc., EMI U Catalog Inc., Jobete Music Co. Inc., Stone Agate Music, Screen

     Gems-EMI Music Inc., Stone Diamond Music Corp., Atlantic Recording Corporation, Bad Boy

     Records LLC, Elektra Entertainment Group Inc., Fueled By Ramen LLC, Nonesuch Records Inc.,

     Roadrunner Records, Inc., Warner Bros. Records Inc., Warner/Chappell Music, Inc., Warner-

     Tamerlane Publishing Corp., WB Music Corp., W.B.M. Music Corp., Unichappell Music Inc.,

     Rightsong Music Inc., Cotillion Music, Inc., Intersong U.S.A., Inc., UMG Recordings, Inc.,

     Capitol Records, LLC, Universal Music Corp., Universal Music – MGB NA LLC, Universal

     Music Publishing Inc., Universal Music Publishing AB, Universal Music Publishing Limited,
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Universal Music Publishing MGB Limited, Universal Music – Z Tunes LLC, Universal/Island

Music Limited, Universal/MCA Music Publishing Pty. Limited, Universal – Polygram

International Tunes, Inc., Universal – Songs of Polygram International, Inc., Universal Polygram

International Publishing, Inc., Music Corporation of America, Inc. d/b/a Universal Music Corp.,

Polygram Publishing, Inc., Rondor Music International, Inc., and Songs of Universal, Inc.,

(collectively, “Plaintiffs”), hereby respectfully move the Court for permission to amend the

Complaint.

       Plaintiffs requested Cox’s consent to this motion but had not yet received a response as of

the time of this filing. Plaintiffs therefore seek leave to file under the liberal standard of Rule

15(a)(2) and consistent with the Court’s Scheduling Orders. ECF Nos. 60, 53. A proposed First

Amended Complaint is attached hereto as Exhibit 1, with updated sound recordings listed in

Exhibit A and musical compositions in Exhibit B. This amendment does not add any new parties,

works or claims. Under the applicable legal standard for motions to amend, as discussed in the

accompanying memorandum of law, good cause exists to amend the Complaint.

                 LOCAL RULE 7(E) MEET AND CONFER STATEMENT

       Counsel for Plaintiffs provided counsel for Cox with notice of Plaintiffs’ Motion to Amend

and Proposed First Amended Complaint on April 8, 2019, requesting Cox’s consent and making

counsel available for a telephone conferral. Plaintiffs had not yet received a response as of the

filing of this motion and will update the Court promptly in the event Cox consents.




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 Dated April 8, 2019                             Respectfully Submitted,

                                                 /s/ Scott A. Zebrak /
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